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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF COLUMBIA

                                                        )
       UNITED STATES OF AMERICA,                        )
                                                        )
                                   v.                   )       Case No. 1:21-cr-00237-RDM
                                                        )
         MATTHEW LELAND KLEIN,                          )
                                                        )
                             Defendant,                 )
                                                        )


   DEFENDANT’S MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE
       Matthew L. Klein, through counsel, respectfully moves the Court to modify his conditions

of pretrial release, to remove the travel restriction confining his travel to Baker County Oregon

and impose a travel restriction confining his travel to within the District of Oregon. In support of

his motion, Mr. Klein states as follows:

       1.      Mr. Klein is currently on pretrial release awaiting trial for charges related to the

events of January 6, 2021.

       2.      After an initial period of detention, Mr. Klein was released to the custody of his

aunt, Donna Thibodeau. ECF 37. Mr. Klein was originally confined to home detention, and his

travel was restricted to Baker County, Oregon. ECF 38. Mr. Klein is no longer confined to home

detention and may travel within Baker County. Sep. 20, 2021 Minute Order.

       3.      From the time of this Court’s entry of release conditions on May 13, 2021, Mr.

Klein has complied in all respects with the conditions of pretrial release.

       4.      Mr. Klein wishes to be able to travel outside Baker County because most of his

family lives outside of that County. Moreover, Baker County is rural and has a population of less
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than 17,000. 1 Mr. Klein would like to travel outside the county access stores and other amenities

not available in his small community.

       5.      The undersigned has conferred with the government, represented by Assistant U.S.

Attorney Christopher Veatch. The government does not object to the foregoing modifications.

       6.      The Undersigned has reached out to Pretrial Services, who confirmed that Mr.

Klein is in full compliance with the conditions of pretrial release and that Pretrial Services takes

no position on this motion.

       WHEREFORE, Mr. Klein respectfully requests that this Court remove the restriction

confining his travel to Baker County, Oregon and impose a restriction confining his travel to within

the District of Oregon.



                                                     Respectfully submitted,

                                                     By: /s/ Eugene Gorokhov
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       U.S. Census Bureau, QuickFacts: Baker County, Oregon, (last visited October 27, 2022),
available at https://www.census.gov/quickfacts/fact/table/bakercountyoregon/PST045221.


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